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                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF NEW YORK


DONALD J. TRUMP and TRUMP                               Civil Action No.: 1:21-cv-01352-BKS-CFH
ORGANIZATION LLC,

                       Plaintiffs,

       v.                                                 NOTICE OF PLAINTIFFS’ MOTION
                                                          FOR PRELIMINARY INJUNCTION
LETITIA JAMES, in her official capacity as
Attorney General for the State of New York,

                       Defendant.


       PLEASE TAKE NOTICE that pursuant to Rule 65 of the Federal Rules of Civil Procedure,

Plaintiffs Donald J. Trump and Trump Organization LLC (“Plaintiffs”) by their undersigned

counsel of record, hereby move this Court before the Honorable Brenda K. Sannes, in the United

States District Court, Northern District of New York, Albany, New York, for a preliminary

injunction against the Defendant, Letitia James (“Defendant”), for an order: (1) granting Plaintiffs

a preliminary injunction staying the Defendant’s and the Office of the New York Attorney

General’s active civil investigation of Plaintiffs for the duration of this action and pending

resolution thereof; or (2) in the alternative, requiring that Defendant recuse herself from

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involvement in any capacity in the active civil and criminal investigation of Plaintiffs for the

duration of this action and pending resolution thereof. Plaintiffs’ motion is based on the attached

memorandum of law, Declaration of Alina Habba, Esq. in Support of Plaintiffs’ Motion for

Preliminary Injunction (the “Motion”) dated January 4, 2022, other filings, and any oral argument

or evidence presented at the preliminary injunction hearing. Plaintiffs are entitled to a preliminary

injunction because they have shown “‘(a) irreparable harm and (b) either (1) likelihood of success

on the merits or (2) sufficiently serious questions going to the merits to make them a fair ground

for litigation and a balance of hardships tipping decidedly toward the party requesting the

preliminary relief.’” Citigroup Glob. Markets, Inc. v. VCG Special Opportunities Master Fund

Ltd., 598 F.3d 30, 35 (2d Cir. 2010).


Dated: January 10, 2021.                      Respectfully submitted,
       New York, New York



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